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                   or




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              after
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 Cou n t I – Sect i on 1 9 8 1 Def en d a n t s Ci t y of Ch i ca go, Fr y l a n d a n d Ul l r i ch
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 Cou n t II – Sect i on 1 9 8 2 Def en d a n t s Ci t y of Ch i ca go, Fr y l a n d a n d Ul l r i ch
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Cou n t IV – Sect i on 1 9 8 5 (3 ) vs. Def en d a n t s Fr y l a n d , Ul l r i ch , Del t a , Ra f a el , Cor vel

                                                  a n d Del t a
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Cou n t V – Ta k i n g Pr oper t y w i t h J ust Com pen sa t i on vs. Def en d a n t s Ci t y of

                        Ch i ca go, Fr y l a n d , Ul l r i ch a n d Ra f a el
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Cou n t VI – Su bst a n t i ve Du e Pr ocess vs. Ci t y of Ch i ca go, Fr y l a n d , Ul l r i ch a n d

                                               Ra f a el
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Cou n t VI I – Equ a l Pr ot ect i on Cl a ss of On e vs. t h e Ci t y of Ch i ca go Def en d a n t s
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                                                   Brunson v. Murray,
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               Cou n t VII I – Sect i on 1 9 8 6 – vs. Al l Def en d a n t s
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          Cou n t I X – Il l i n oi s Con su m er Fr a u d v. Del t a a n d Cor vel
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                                                        inter alia
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                    Cou n t XI – Respon d ea t Su per i or vs. Cor vel




  Cou n t XI I – Pr om i ssor y Est oppel vs. Ci t y of Ch i ca go, Cor vel a n d Ra f a el
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Cou n t XI V – Decl a r a t or y J u d gm en t vs. Cor vel Pu r su a n t t o Sect i on 1 5 5 of t h e

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